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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


 LAUREN ROLLINS,                                         Civil Action No. 3:22-cv-30059-MGM
          Plaintiff,

          v.

 R STREET INSTITUTE,
            Defendant.



     Plaintiff Lauren Rollins’ Opposition to Defendant’s Motion to Compel Discovery

          Discovery in a civil action is limited to non-privileged material that is relevant to a

party’s claims or defenses and is proportional to the needs of the case. Fed.R.Civ.P

26(b)(1). Here, Plaintiff Lauren Rollins brought suit against Defendant R Street Institute,

alleging claims of sex-based wage discrimination in violation of state and federal law as

well as retaliation for her complaints of sex discrimination. Through this action, Plaintiff

Rollins seeks compensation for lost wages, future pay, pain and suffering, punitive

damages and attorneys’ fees. In connection with these claims, Defendant now asks this

Court to compel Plaintiff to produce certain medical records documents, some of which

do not exist and others that are not only privileged but are not relevant to Plaintiff

Rollins’ claims nor proportional to the needs of this case. For these reasons,

Defendant’s motion should be denied in its entirety.

I.       Legal Standard

         The scope of discovery in a discrimination case is governed by the Federal Rules

of Procedure. Rule 26(b)(1) states:

         Parties may obtain discovery regarding any nonprivileged matter that is
         relevant to any party's claim or defense and proportional to the needs of
         the case, considering the importance of the issues at stake in the action,

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       the amount in controversy, the parties' relative access to relevant
       information, the parties' resources, the importance of the discovery in
       resolving the issues, and whether the burden or expense of the proposed
       discovery outweighs its likely benefit. (Emphasis added)

       In this case, the discovery sought by Defendant R Street is privileged, not

relevant and not proportional to the needs of this case.

II.    Argument

       Defendant’s Motion to Compel focuses on three (3) specific requests related to

certain medical records of Plaintiff Rollins.

       Request for Production No. 34

       In Request for Production No. 34, Defendant sought:

       34. Any and all records maintained by any physician, health care facility,
       hospital, psychologist, psychiatrist, social worker, or other healthcare
       provider with whom Plaintiff visited, consulted, or received treatment or
       evaluation for any condition or symptom that Plaintiff claims was
       caused by or resulted from R Street’s alleged conduct, including, but
       not limited to, medical records, laboratory and test results, consultation
       notes, and statements of charges for services rendered. (emphasis
       added)

       Plaintiff responded:

       Medical marijuana practitioner, An Chen at Veriheal.com; see Exhibit C. (See

Exhibit A, Plaintiff’s responses to Defendant’s Requests for Production) Plaintiff offered

a general objection in regard to all of the Production Requests, including an objection

based on privilege but Plaintiff answered this Request because it was narrowly tailored

to the events at issue in her complaint. Other than the prescription provided by Dr.

Chen, Plaintiff did not produce any records responsive to Production Request No. 34

because none existed – she has not sought any other treatment for any condition or

symptoms she claims was caused by Defendant.



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       Defendant sought similar information in Interrogatory No. 12, asking Plaintiff to

identify “each and every physician, psychiatrist, psychologist, social worker or other

health care provider or facility that Plaintiff has visited, consulted or received treatment

from relative to any physical or emotional condition Plaintiff alleges R Street caused.”

Again, Plaintiff provided a general objection to all of the Interrogatories and answered

this specific request. Plaintiff responded, “To help with the stress of losing my job and

searching for an appropriate replacement thereof, I obtained a medical marijuana card

through Dr. An Cen at Veriheal.” On April 21, 23, Plaintiff provided a Supplemental

Response stating: “Other than this card, I have not sought any treatment for the

physical or emotional harm caused by Defendant.” (See, Exhibit B, Plaintiff’s Response

to Defendant’s Interrogatories)

       Defense counsel questioned Plaintiff at her deposition as to whether she saw a

therapist. Plaintiff testified,

       I didn’t go to a therapist because I knew it was situational and it was a
       matter of, I mean, they’re going to put me on some kind of antidepressant
       and I don’t’ take those kinds of medications. So, there was nothing for me
       to do other than to figure out how to pick the pieces up and try to put my
       life back together.

(See Exhibit C, Rollins Depo, Day 2, 448:22-449:8-14) Plaintiff continued to express a

number of reasons why she did not believe that therapy was going to work for her.

       After Plaintiff’s deposition was completed, Defendant deposed her daughter,

Madison Rollins. Defendant questioned Ms. Rollins about Plaintiff’s familiar

relationships as well as her relationship with a recent romantic partner. During that

testimony, Ms. Rollins referenced that her mother had recently started therapy and that,



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as she understood it, this therapy had been helpful for her mother. (See Exhibit D,

Deposition of Madison Rollins, 87:8-89:16) 1 However, Ms. Rollins does not participate

in her mother’s therapy and at best could only speculate as to the ways in which

therapy was “helping” her mother, including working through losing her job. From this

testimony, Defendant has extrapolated that Plaintiff must be seeking therapy for a

condition that she claims was caused by R Street. 2 This hearsay testimony clearly does

not open the door for any order to compel Plaintiff to produce medical records in

response to this Production Request, particularly in light of Plaintiff’s consistent

testimony that she has not sought treatment for the emotional distress she has alleged

in this Complaint.

        In order to resolve this issue without resort to motion practice, Plaintiff then

informed Defendant in no uncertain terms that she was limiting her claim of emotional

distress damages to one of garden variety emotional distress. (See Exhibit E, letter to

B. Davis, dated August 16, 2023) In its Motion, Defendant now attempts to use

Plaintiff’s clarification as to the type of emotional distress damages that she is seeking

as proof that she has been withholding records previously sought in regard to

Production Request No. 34. But, even if Plaintiff had sought treatment specific to any

“condition or symptom” that she claims were caused by R Streets’ unlawful conduct,

she did not open the door to providing those privileged records, simply by making that

allegation. For example, in Sabree v. United Broth. of Carpenters & Joiners of America,


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  Q. Has she indicated to you the purpose of therapy?
A. Yes. We talked about it, when I – you know, truthfully, I was a little bit surprised that she had decided
to go, and she had said to me that – she was trying to convince me, actually, because she think’s its very
helpful. It helps her work through anything, form childhood trauma, to the breakup, to losing her job. I
think that it has definitely helped her outlook on things.”
(Ex. D, 87:8-89:16)
2
  The therapy that the Plaintiff has recently been participating was in connection with relationship issues.

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the Court concluded that “Sabree has not placed his mental condition at issue. Sabree

makes a “garden-variety” claim of emotional distress, not a claim of psychic injury or

psychiatric disorder resulting from the alleged discrimination” and denied the Union’s

motion to compel. 126 F.R.D. 422, 426 (D. Mass 1989). See also, Koppel v. Moses,

2022 WL 17084324 (D. Mass Nov. 8, 2022); Sorenson v. H & R Block, Inc. 197 F.R.D.

199, 204 (D. Mass 2000); Vanderbilt v. Town of Chilmark, 174 F.R.D. 225 (D. Mass

1997). Here, the Plaintiff has not offered expert testimony as to the emotional distress

claimed in this lawsuit, nor does she intend to do so, and she does not claim to suffer

from a specific diagnosis. Instead, the Plaintiff has limited her claim to garden variety

emotional distress and by doing so, any such records are not relevant or proportional to

this request. Here, there are no additional records responsive to Production Request

No. 34 and Defendant’s Motion to Compel to this Request should be denied.

       Defendant also moves to compel Request for Production No. 35 and 36.

       In Request for Production No. 35, Defendant sought:

       35. Any and all records maintained by any physician, health care facility,
       hospital, psychologist, psychiatrist, social worker, or other healthcare
       provider with whom Plaintiff visited, consulted or received treatment from
       at any time from June 2017, to present, including, but not limited to,
       medical records, laboratory and test results, consultation notes, and
       statements of charges for services rendered.

       Plaintiff responded:

       Objections: This Request seeks or purports to impose upon Plaintiff
       obligations other than those imposed by the FRCP and the applicable
       Rules of this Court. This Request calls for documents not within her
       possession, custody, or control. This Request seeks information that is not
       proportional to the needs of the case. This Request seeks information that
       is not relevant to the subject matter of this litigation. This Request is
       vague, ambiguous, argumentative, overbroad, redundant, overlapping,
       repetitive, harassing, and unduly burdensome, and not reasonably



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       calculated to lead to the discovery of admissible evidence.
       Notwithstanding the objections and subject to them, none.




       In Request for Production No. 36, Defendant sought:

       36. Any and all documents concerning any physical or mental condition
       that Plaintiff claims is at issue in this case, which were not already
       produced in response to the above requests.


       Plaintiff responded:

       Objections: This Request seeks or purports to impose upon Plaintiff
       obligations other than those imposed by the FRCP and the applicable
       Rules of this Court. This Request calls for documents not within her
       possession, custody, or control. This Request seeks information that is not
       proportional to the needs of the case. This Request seeks information that
       is not relevant to the subject matter of this litigation. This Request is
       vague, ambiguous, argumentative, overbroad, redundant, overlapping,
       repetitive, harassing, and unduly burdensome, and not reasonably
       calculated to lead to the discovery of admissible evidence.
       Notwithstanding the objections and subject to them, none.

       In its Motion, Defendant seek to obtain all of Plaintiff’s private and

confidential treatment records – even for conditions that she does not claim were

“caused by or resulted from R Street’s alleged conduct.” Defendant R Street

argues that Plaintiff Rollins has waived any privilege claim to any therapy records

because she disclosed that she received a prescription for medical marijuana in

response to Production Request No. 34. But the fact that Plaintiff Rollins

answered Production Request No. 34 – a request that was specifically limited to

the production of any treatment related specifically to distress she claims was

caused by R Street’s conduct does not open the door to any other therapeutic

treatment that she may have received during the course of her life, particularly in

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light of the limitation that she has placed on her claim for emotional distress

damages. As such, this Request is not proportionate to the needs of the case nor

relevant to Plaintiff’s claims. For the reasons set out above, Plaintiff should not

be compelled to provide any documents in regard to Request No. 35.

       Finally, Defendant argues Plaintiff should be compelled to produce all documents

related to her diagnosis and treatment for autism. Defendant states that the fact that

Plaintiff has limited her claims to garden variety emotional distress is immaterial to

whether her “mental health/neurological disorder diagnosis” is relevant to Defendant’s

termination decision and further claims that “goes to the heart of the appropriateness of

Rollins’ workplace behavior and her own perception of her behavior.” (Def. Memo, p. 5)

But Defendant misconstrues Plaintiff’s legal claims. Plaintiff has not claimed that her

status as an individual who is on the autism spectrum led to her termination, nor has

she alleged any sort of disability discrimination claim. In this case, Plaintiff has alleged

sex-based discrimination in her treatment and her compensation, Equal Pay Act

violations and retaliation for complaining about the discriminatory treatment that she

experienced and the discriminatory treatment of her female co-workers. Whether or not

Plaintiff is autistic is not relevant to the claims that she has alleged in this case.

       In fact, the issue of autism only came up during the first day of Plaintiff’s

deposition, when she stated that she was “neuro-divergent” and that it affected her

ability to pinpoint dates when asked certain questions. (See Exhibit F, Lauren Rollins,

Deposition Day 1, 90:15-18). At that time, there was no further examination of what

Plaintiff meant by “neuro-divergent”. During the second day of her deposition, defense

counsel asked Plaintiff about her “neuro-divergence” and she explained that she is on



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the autism spectrum. She was then asked how her autism might affect her testimony, to

which she replied, “it makes me truthful to a fault” (Ex. C, 291:9) and that she over-

communicates. Plaintiff did not disclose her belief that she was autistic to anyone at

Defendant during her employment. (Ex. C, 295:17-19)

       Despite these facts, Defendant has now demanded that Plaintiff provide records

related to her autism diagnosis or treatment. But Plaintiff informed defense counsel that

she does not have any records. Plaintiff’s description of herself as being on the “autism

spectrum” is based upon a self-diagnosis, not a formal medical diagnosis or treatment.

Therefore, there are no diagnosis or treatment records. The Court cannot compel

Plaintiff to produce records that do not exist. For these reasons, Defendant’s Motion

with regard to this issue should also be denied.

III.   Conclusion

       For the reasons set out more fully above, Defendant’s Motion to Compel should

be denied in its entirety.




                                          Plaintiff, LAUREN ROLLINS,

Dated: September 12, 2023                   /s/ Deborah McKenna
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                              CERTIFICATE OF SERVICE

       I, Deborah L. McKenna, hereby certify that this document, filed through the

CMECF system, will be sent electronically to the registered participants as identified on

the Notice of Electronic Filing on September 12, 2023, and to unregistered participants

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                                                          /s/ Deborah McKenna
                                                          Deborah L. McKenna




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